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January 31, 2025

Honourable John G. Koeltl

Daniel Patrick Moynihan
United States Courthouse,
Courtroom 14A
500 Pearl St.
New York, NY 10007-1312


Dear Judge Koeltl,

My name is Michael Scheiner, and I am the brother-in-law of Alex Mashinsky. I have known
Alex for over 30 years, and during that Ɵme, he has been a signiĮcant part of my life. When
my wife and I Įrst arrived in New York, Alex had already established himself there and
welcomed us with open arms and helped us greatly to get seƩled in. We even lived together
as roommates for three years, during which I saw Įrsthand his kindness, generosity, and
willingness to help others.

Alex has always been a devoted husband and father. He raised six wonderful children, and I
have always admired the way he has prioriƟzed his family. He is the kind of person who puts
others before himself, always ready to lend a helping hand to those in need. Whether it was
assisƟng me and my wife when we were starƟng our life in a new city or supporƟng his
family through life’s challenges, Alex has consistently shown himself to be a caring and
dependable individual.

Beyond his role as a family man, Alex is someone who values relaƟonships and community.
He has always been the type of person who brings people together, oīering support and
encouragement to those around him. His generosity extends beyond his immediate family,
as he has oŌen gone out of his way to help friends, colleagues, and neighbours’ in Ɵmes of
need. I have always known him to be kind, thoughƞul, and considerate, and I believe those
who know him well would say the same.

I appreciate your Ɵme and consideraƟon in reading this leƩer. Thank you for allowing me to
share my thoughts on Alex’s character.

Sincerely,

Michael Scheiner



Israel




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